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The redacted version of the following U.S. District Court violation notice is not available:

Location Code    Violation Number Officer                                                      Date of Offense
WYNP     E1480946   LEWIS                                                                      11/01/2023
THE CHARGE ON THE VIOLATION NOTICE
Offense Charged Offense Description
36CFR7.13(j) FOOT TRAVEL IN A THERMAL AREA
Defendant Name
BROSNAN, PIERCE B
Initial Court Appearance
MANDATORY - You must appear in court
Court Address                                                                                       Date/Time
US DISTRICT COURT                                                                                   01/23/2024
YELLOWSTONE JUSTICE CENTER                                                                          11:00 AM
105 ALBRIGHT AVE
YELLOWSTONE N P, WY 82190
